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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )         8:13CR244
                    Plaintiff,              )
                                            )
      vs.                                   )          ORDER
                                            )
LUIS A. VALLEJO,                            )
                                            )
                    Defendant.              )


      This matter is before the court on the motion for Jencks Act Material by defendant
Luis A. Vallejo (Vallejo) (Filing No. 133). The motion does not comply with Paragraph 3
of the Progression Order (Filing No. 18) which provides, in part:

             In the event that any motions are filed seeking bills of
             particulars or discovery of facts, documents, or evidence, as
             part of the motion the moving party shall recite that counsel
             for the movant has conferred with opposing counsel regarding
             the subject of the motion in an attempt to reach agreement on
             the contested matters without the involvement of the court and
             that such attempts have been unsuccessful. The motion shall
             further state the dates and times of such conferences.

The motion sets forth no attempts to resolve Vallejo’s motion for Jencks Act material.
Accordingly, the motion is denied.


      IT IS SO ORDERED.


      DATED this 16th day of January, 2014.


                                                BY THE COURT:

                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
